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Ae
IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

LAISHA LOMAX, individually, and on behalf
of minor KERIANNA WARE, minor JAYLA
TOLLIVER, and minor NEITEMIAH
PITILLIPS and DYNESHA LOMAX on bchalf|
of NOBEL PICKENS, a minor, and PATRICIA
FORD on behalf of DENISHA TURNER, a 07CV2060
_— JUDGE LEFKOW GE COLE

Plaintiffs, MAGISTRATE JUD a

v. oo
UNKNOWN OFPICERS, and the CIlY OF F | L E D
CHICAGO, |

APR 13 2007 Nt
Defendant(s). Ly [Bred
MICHAEL W. DOBBINS ©
COMPLAINT AT LAW OLERK, ud. BISTROT GOUART

NOW COMES the Plaintiffs, by and through the LAW OFFICES OF BLAKE
HORWITZ, LTD., and pursuant to this Complaint at Law, states the following against the above
named Defendants, to wit UNKNOWN OFFICERS, (hereinafter, the “DEFENDANT
OFFICERS”) and the CITY OF CHICAGO:

JURISDICTION
I. The jurisdiction of the court is invoked pursuant to the Civil Rights Act, 42 U.S.C. §
1983; the Judicial Code, 28 U.S.C. §1331 and §1343(a); the Constitution of the United States; and
this Court’s supplementary jurisdiction powers.
PARTIES
2. Plaintiffs, LAISHA LOMAX, KERIANNA WARE, JAYLA TOLLIVER, NEHEMIAH
PHILLIPS, DYNESHA LOMAX, NOBEL PICKENS, PATRICIA FORD, and, DENTISHA

TURNER are residents of the State of Iinois and citizens of the United States.
 

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3. The DEFENDANT OFFICERS were at all times relevant hereto officers of the CITY OF
CHICAGO.

4, The CITY OF CHICAGO is a duly incorporated municipal corporation and is the
employer and principal of the DEFENDANT OFFICERS as well as the other officers referred to
in this Complaint, as indicated in the Monel/ claim alleged hercin.

FACTS

5. On or about April 5, 2007, some or all of the DEFENDANT OFFICERS committed
excessive force and/or false arrest against the Plaintiffs. This conduct constituted an unreasonable
seizure of the Plaintiffs in violation of the Fourth Amendment to the United States Constitution.

6. There was no probable cause to arrest the Plaintiffs.

7. On or about April 5, 2007, the Plaintiffs did not obstruct justice, resist arrest and/or batter
and/or assault any of the DEI'- ENDANT OFFICERS.

8, The use of force initiated by some or all of the DEFENDANT OFFICERS and the failure
to intervene in the use of said force, caused an excessive amount of force on to the Plaintiffs as
well as a false arrest of the Plaintiffs. Said force was unreasonable and unnecessary,

9, Asa direct and proximate result of one or more of the aforesaid acts or omissions of the
DEFENDANT OFFICERS, Plaintiffs were caused to suffer serious injury.

10. On or about April 5, 2007, the DEFENDANT OFFICERS were on duty at all times
relevant to (his complaint and duly appointed and were sworn police officers for the CITY OF
CHICAGO. The DEFENDANT OFFICERS engaged in the conduct complained of, on said date,
in the course and scope of their employment and while they were on duty. The DEFENDANT
OFFICERS are sued in their individual capacity.

11. Also, some or all of the DEFENDANT OFFICERS conspired to injure the Plaintiffs by:
 

 

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collectively using excessive force and/or failing to intervene in the usc of
excessive force against the Plaintilfs:

agreeing not to report each other after witnessing Plaintiffs being abused and
falsely arrested;

c. generating false documentation to cover-up for their own and each othcr’s
misconduct,

12. In connection with the above conspiracy, the DEFENDANT OFFICERS specifically
engaged in communication on or about the date of the Plaintifls’ arrests, whereby the
DEFENDANT OFFICERS agreed to facilitate, engage in and support the activity which occurred
in connection with the allegations immediately above. As a result of this conspiracy, the
DEFENDANT OFFICERS by and through their conduct, proximately caused the Plaintiffs to

sulfer injury .

 

13. Itis the custom, practice and/or policy of police officers and/or their supervisors/agents
and/or other employees of the CITY OF CHICAGO to perform the following acts and/or
omissions in connection with acts of excessive force and/or false arrest:

a. generate false documentation to cover-up for the misconduct of fellow police
officers;

b, engage in acts of excessive force with innocent civilians;

c. fail to properly discipline officers from said police department who have
committed act(s) of excessive force and false arrest upon another;

d. fail to properly investigate a complaint of false arrest and excessive force
perpetrated by a CITY OF CHICAGO police officer upon another,

¢. fail to take proper remedial action against a CITY OF CHICAGO police officer
once it is determined that an act of false arrest and/or excessive force has been
committed by said officer upon another:

[. allow misconduct to occur in various types and severity such that police officers
believe thal they can cngage in a false arrest and/or serious acts of violence
without repercussions and/or significant repercussions;
 

 

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g. fail to provide adequate sanctions/discipline to officers who commit a false arrest
and/or excessive force, such that a permissive atmosphere exists among officers
wherein they believe that they will not be disciplined (or significantly disciplined)
for engaging in inappropriate behavior with cilizens;

h. fail to provide adequate sanctions/discipline to officers who falsely arrest and/or
usc cxcessive force upon citizens in such a way that a permissive atmosphere
exists among officers whereim they believe that they will not be disciplined (or
significantly disciplined) for engaging in such behavior;

i. fail to provide adequate sanctions/discipline to officers who falsify police reports,
investigations and/or internal investigations, causing said officers to believe that
they can manutacture evidence which will cause them to not be disciplined or
significantly disciplined for engaging in illegal behavior, inter alia false arrest
and/or excessive force;

j. fail to provide adequate sanctions/discipline to officers who falsify police reports,
investigations and/or internal investigations, causing said officers to believe that
they can manufacture evidence which will cause them to not be disciplined or
significantly disciplined for engaging in behavior which violates the rules,
policies and/or procedures of the CITY OF CHICAGO police department;

k. fail to properly investigate officers who falsify police reports, investigations
and/or internal investigations, causing said officers to believe that they can
manufacture evidence which will cause them to not be disciplined or significantly
disciplined for engaging in behavior which violates the rules, policies and/or
procedures of the CITY OF CHICAGO police department;

|. fail to take proper remedial measures to prevent and/or deal with officers who
falsify police rcports, investigations and/or internal investigations, causing said
officers to belicve that they can manufacture evidence which will cause them to
not be disciplined or significantly disciplined for engaging in illegal behavior,
inter alia talse arrest and/or excessive force;

m. fail lo take proper remedial measures to prevent and/or deal with officers who
falsify police reports, investigations and/or internal investigations, causing said
officers to believe that they can manufacture evidence which will cause them to
not be disciplined or significantly disciplined for engaging in behavior which
violates the rules, policies and/or procedures of the CITY OF CHICAGO police
department:

n. farl to properly investigate officers who commit significant intrusions to the body
of innocent citizens, such that a permissive atmosphere exists among officers
wherein they believe that they will not be disciplined (or significantly disciplined)
for engaging in misconduct with citizens;
 

 

 

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0. fail to properly investigate officers who falsely arrest and/or use excessive force
upon citizens in such a way that a permissive atmosphere exists among officers
whercin they believe that they will not be disciplined (or significantly disciplined)
for engaging in such behavior;

p. fail to take proper remedial action with officers who commit significant intrusions
to the body of innocent citizens, such that a permissive atmosphere exists among
officers wherein they believe that they will not be disciplined (or significantly
disciplined) for engaging in misconduct with citizens;

q. fail to take proper remedial action with officers who use excessive force upon
citizens in such a way that a permissive atmosphere exists among officers wherein
they believe that they will not be disciplined (or significantly disciplined) for
engaging in such behavior;

r. fail to provide proper training to prevent officers from falsifying police reports,
falsely charging innocent citizens, using exccssive force, and violating the rules,
policies and procedures of the CITY OF CHICAGO police department.

14. This practice and/or custom, as alleged above, has gone unchecked and been allowed to

exist in the CITY OF CHICAGO fora significant period of time, so much so, that police officers

for the CITY OF CHICAGO recognize that they will not be punished for committing said acts
and that, in fact, said acts are either permitted or quietly consented to by superior officers of the

CITY OF CHICAGO police department in order to permit said conduct to rc-occur.

15, A code of silence exists, between the officers of said police department so as to obstruct
the legal provess (preventing the free flow of honest information with regard to acts of
misconduct). ‘This code of silence contributes to the generation of secrets regarding police officer
misconduct. This code of silence also generates misconduct among fellow officers as they are
knowledgeable and secure in the notion that they will not be “turned in” for committing acts of
misconduct.

16. The CITY OF CHICAGO is a duly incorporated municipal corporation and is the
employer and principal of the DEFENDANT OFFICERS as well as the other officers referred to

in this Complaint, as indicated in the Monel? claim alleged hercin, At all times material to this
 

 

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complaint, the DEFENDANT OFFICERS were acting under color of state law, ordinance and/or
regulation, statutes, custom and usages of the CITY OF CHICAGO.

COUNTI
§1983 Excessive Force’

17. Plaintiffs re-allege paragraphs | — 16 as though (ully set forth herein.
18. The actions of the DEFENDANT OFFICERS amount to an excessive use of force onto

the Plaintiffs. This conduct violated the Plaintiffs’ Fourth Amendment right to be free from

unrcasonable seizure,

19, The aforementioned actions of said officers were the direct and proximate cause of the

constitutional violations set forth above.

 

WHEREFORE, Plaintiffs demand compensatory damages from the DEFENDANT
OFFICERS, Plaintiffs also demand punitive damages, costs and attorney's fees against said
Defendants. Plaintiffs also demand whatever additional relief this Court deems equitable and
just.

COUNT II
§1983 False Arrest

20, Plaintiffs re-allege paragraphs | — 16 as though fully set forth herein.

21. The actions of the DEFENDANT OFFICERS caused the arrest of the Plaintiffs without
probable cause to believe that Plaintiffs had committed criminal activity. The DEFENDANT
OFFICERS’ conduct was in violation of the Fourth Amendment to the United States Constitution.

22, The aforementioned actions of the DEFENDANT OFFICERS were the direct and

proximate cause of the Constitutional violations set forth above.
 

 

 

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WHEREFORE, Plaintiffs demand compensatory damages from the DEFENDANT
OFFICERS, punitive damages, costs and attorney's fees. Plaintiffs also demand whatever
additional relief this Court decms equitable and just.

COUNT III
False Arrest —State Claim

23, Plaintiffs re-allege paragraphs 1 — 16 as though fully set forth herein.

24, The DEFENDANT OFFICERS arrested Plaintiffs without probable cause to believe that
Plaintiffs had committed criminal activity, The DEFENDANT OFFICERS’ conduct was in
violation of the Constitution to the State of as well as law.

25. The aforementioned actions of the DEFENDANT OFFICERS were the direct and
proximate cause of the violations set forth above,

WHEREFORE, Plaintiffs demand compensatory damages from the DEFENDANT

OFFICERS, punitive damages and costs. Plaintiffs also demand whatever additional relief this

Court decms equitable and just.

COUNT IV
Battery —State Claim

26. Plaintiffs re-allege paragraphs 1 ~ 16 as though fully set forth hercin.

27, The DEFENDANT OFFICERS struck the Plaintiffs intentionally, without consent and
without justification.

28. The DEFENDANT OFFICERS’ conduct was in violation of Law,

29. The aforementioned actions of the DEFENDANT OFFICERS were the direct and

proximate cause of the violations set forth above.
 

 

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WHEREFORE, Plaintiffs demand compensatory damages from the DEFENDANT

OFFICERS, punitive damages and costs. Plaintiffs also demand whatever additional relief this

Court deems equitable and just.

COUNT VIN
§ 1983 Unlawful Search of Residence

30, Plaintiffs re-allege paragraphs 1 — 16 as though fully set forth herein,

31. The DEFENDANT OFFICERS invaded Plaintiffs’ homes without probable cause and
unlawfully conducted a search thercin.

32. The aforementioned actions were the direct and proximate cause of the violations of as
sei forth above.

WITEREFORE, Plaintiffs demand compensatory damages from the DEFENDANT

 

OFFICERS, punitive damages, attorneys’ fees and costs. Plaintiffs also demand whatever
additional relief this Court deems equitable and just.
COUNT XII — Monell
33. Plaintifl’s re-allege paragraphs 1 — 16 as though fully set forth herein.
WHEREFORE, Plaintifts demand compensatory damages against the CITY OF
CHICAGO, costs and attorney's fees. Plaintiffs also demand whatever additional relief this
Court deems equitable and just.

COUNT xm
745 ILCS 10/9-102 Claim Against the CITY OF CHICAGO

34, Plaintiffs re-alleges paragraphs 1 — 16 as though fully set forth herein.
35. Defendant CITY OF CHICAGO is the employer of the DEFENDANT OFFICERS

alleged above.
 

 

 

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36. The DEFENDANT OFFICERS, as alleged above, committed the acts under color of law
and in the scope of their employment as employees for the CITY OF CHICAGO.
WHEREFORE, should DEFENDANT OFFICERS be found liable for any of the alleged
counts in this cause, Plaintiffs dermand that, pursuant to 745 ILCS 10/9-102, the CITY OF
CHICAGO pay them any judgment obtained against said DEFENDANT OFFICERS as a result
of this complaint.

COUNT XIV
Supplementary Claim for Respondeat Superior

37. Plaintifi's re-allege paragraphs 1 — 16 as though fully set forth herein.

38. The aforesaid acis of the DEFENDANT OFFICERS were in the scope of their
employment and therefore the Defendant CITY OF CHICAGO, as principal, is liable for the
actions of its agents under the doctrine of respondeat superior.

WHEREFORE should the DEFENDANT OFFICERS be found liable for any state claims
alleged herein, Plaintiffs demand judgment against the CITY OF CHICAGO and such other
additional relief, as this Court deems equitable and just.

Plaintiff demands trial by jury.

Respectfully submitted,

  

 

\Attomey for the Plaintiff
Blake Horwilz

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